                Case 21-10042-rlj7                Doc 17          Filed 05/01/22 Entered 05/01/22 17:35:40                                   DescPageMain
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                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                ASSET CASES
Case No.:                      21-10042-RLJ                                                        Trustee Name:                               Roddrick B. Newhouse
Case Name:                     THUNDERBIRD LAND SERVICES LLC                                       Date Filed (f) or Converted (c):            03/30/2021 (f)
For the Period Ending:         5/1/2022                                                            §341(a) Meeting Date:                       05/28/2021
                                                                                                   Claims Bar Date:                            10/21/2021

                         1                                2                     3                            4                        5                         6

                 Asset Description                    Petition/         Estimated Net Value             Property                Sales/Funds               Asset Fully
                  (Scheduled and                    Unscheduled        (Value Determined by             Abandoned              Received by the         Administered (FA) /
             Unscheduled (u) Property)                 Value                  Trustee,            OA =§ 554(a) abandon.            Estate                Gross Value of
                                                                      Less Liens, Exemptions,                                                           Remaining Assets
                                                                         and Other Costs)

 Ref. #
1       Deposits in checking account at                  $2,066.62                    $2,066.62                                           $2,066.62                      FA
        First State
        Bank, Graham, TX Checking
        account 2205
2       Cash supersedas bond in Cause                    $1,699.67                    $1,699.67                                               $0.00                      FA
         No. DC-2013-0016, 32nd
         District Court of Fisher
         County,
         Texas
3        Accounts receivable                             $2,500.00                        $0.00                                               $0.00                      FA
         90 days old or less $2500.00
4        Accounts receivable                                  $0.00                       $0.00                                               $0.00                      FA
         Over 90 days old:
5        Suit against Hudson Petroleum,                       $0.00                       $0.00                                               $0.00                      FA
         et al in Shackelford County,
         Texas
         Nature of claim
         Amount requested
         Suit on acount
         $48,280.00


TOTALS (Excluding unknown value)                                                                                                            Gross Value of Remaining Assets
                                                        $6,266.29                    $3,766.29                                            $2,066.62                  $0.00




     Major Activities affecting case closing:
      05/01/2022      The Trustee has completed administering the case. TFR to be submitted by 05/31/2022.
      07/30/2021      Trustee is in the process of liquidating scheduled assets.


 Initial Projected Date Of Final Report (TFR):          03/30/2022                                                   /s/ RODDRICK B. NEWHOUSE
 Current Projected Date Of Final Report (TFR):          03/30/2022                                                   RODDRICK B. NEWHOUSE
